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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
__________________________________________
                                              )
                                              )
JULIANA PAICE, individually and on behalf )
of all others similarly situated,             )
                                              )
                       Plaintiff              )
                                              )
                v.                            )   Civil Action No. 23-cv-11737
                                              )
                                              )
ALDEYRA THERAPEUTICS, INC., TODD              )
C. BRADY, JOSHUA REED and BRUCE               )
GREENBERG,                                    )
                                              )
                       Defendants.            )
                                              )
__________________________________________)

                              MEMORANDUM AND ORDER

CASPER, J.                                                                      March 14, 2025


I.     Introduction

       Lead Plaintiff Joseph Lombard and named Plaintiff John Levon (collectively, “Plaintiffs”)1

assert this putative class action against Defendants Aldeyra Therapeutics, Inc. (“Aldeyra” or the

“Company”), Aldeyra’s Chief Executive Officer (“CEO”), Todd C. Brady (“Brady”), Aldeyra’s

Chief Financial Officer (“CFO”) until April 2022, Joshua Reed (“Reed”), and Aldeyra’s Interim

CFO since April 2022, Bruce Greenberg (“Greenberg”) (collectively, “Defendants”), alleging

securities fraud in violation of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934

(“Exchange Act”) and Securities and Exchange Commission (“SEC”) Rule 10b-5 (“Rule 10b-5”),

between January 7, 2021 and October 16, 2023 (the “Class Period”). D. 27. Defendants have


       1
         The Court, upon Plaintiffs’ motion, appointed Joseph Lombard as Lead Plaintiff in this
matter. D. 19.
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moved to dismiss the amended complaint. D. 30. For the reasons stated below, the Court

ALLOWS the motion to dismiss.

II.    Standard of Review

       For allegations of securities fraud under Sections 10(b) and 20(a) of the Exchange Act, a

plaintiff “must plead the circumstances of the fraud with particularity, pursuant to Rule 9(b),” Hill

v. Gozani, 638 F.3d 40, 55 (1st Cir. 2011), and, pursuant to the Private Securities Litigation Reform

Act (“PSLRA”), must also “specify each statement alleged to have been misleading [and] the

reason or reasons why the statement is misleading,” id. (alteration in original) (citation and internal

quotation marks omitted). As part of the inquiry under Tellabs v. Makor Issues & Rights, Ltd.,

551 U.S. 308, 322–23 (2007), courts engage in a particularized scrutiny of private securities

complaints. See, e.g., Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 996 (9th Cir. 2009).

As required by Tellabs, the Court considers the allegations collectively to determine whether they

give rise to a strong inference of scienter. Id. at 991–92 (citing Tellabs, 551 U.S. at 323).

       As with any Rule 12(b)(6) motion, the Court must “accept well-pleaded factual allegations

in the complaint as true and view all reasonable inferences in the plaintiffs’ favor.” ACA Fin.

Guar. Corp. v. Advest, Inc., 512 F.3d 46, 58 (1st Cir. 2008).

III.   Factual Background

       A.      Factual Allegations

       The following facts are drawn from Plaintiffs’ amended complaint, D. 27, from exhibits

Defendants filed in support of their motion, which were incorporated by reference in the amended




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complaint and/or are public documents, see D. 32, D. 39,2 including the FDA guidance documents

referenced in Plaintiffs’ amended complaint.3

           Aldeyra is a biotechnology company founded in 2004 that focuses on the development and

commercialization of treatments for immune-mediated diseases. D. 27 ¶ 43. During the Class

Period, the Company was focused on achieving FDA approval of New Drug Applications

(“NDAs”) for two of its drugs: reproxalap as its first priority and ADX-2191 as its second priority.

Id. ¶ 7.

           The process for obtaining FDA approval for a new drug generally involves clinical studies

conducted in three phases. Id. ¶¶ 50–53. In Phase 1, the product is first introduced into humans

to determine the most frequent side effects, dose tolerance and how the drug is metabolized and

excreted. Id. ¶ 53. In Phase 2, the product is evaluated through controlled studies to evaluate

possible adverse side effects and safety risks, to evaluate the efficacy of the drug for specific

targeted indications and to determine dose tolerance and optimal dosage. Id. In Phase 3, the




           2
        Although the Court ordinarily “may not consider any documents that are outside of the
complaint, or not expressly incorporated therein, unless the motion is converted into one for
summary judgment.” Alt. Energy, Inc. v. St. Paul Fire & Marine Ins. Co., 267 F.3d 30, 33 (1st Cir.
2001). “There is, however, a narrow exception ‘for documents the authenticity of which are not
disputed by the parties; for official public records; for documents central to plaintiffs’ claim; or for
documents sufficiently referred to in the complaint.’” Id. (quoting Watterson v. Page, 987 F.2d 1,
3 (1st Cir. 1993)).
           3
         These are U.S. Food and Drug Admin., FDA-2016-D-4460, Multiple Endpoints in
Clinical Trials: Guidance for Industry (2022) (“Multiple Endpoints Guidance”), 2022 WL
17101213, at *1 (Oct. 1, 2022); U.S. Food and Drug Admin., FDA-2008-D-0449, Integrated
Summary of Effectiveness: Guidance for Industry (2015) (“ISE Guidance”), 2015 WL 6125285,
at *1 (Oct. 1, 2015); U.S. Food and Drug Admin., FDA-1999-D-0738, Guidance for
Industry: Applications Covered by § 505(b)(2) (1999) (“Indust. 505(b)(2) Guidance”), 1999 WL
35763819, at *1 (Oct. 1, 1999), and U.S. Food and Drug Admin., FDA-2017-D-5974, Determining
Whether to Submit an ANDA or a 505(b)(2) Application: Guidance for Industry (2019) (“ANDA
505(b)(2) Guidance”), 2019 WL 8224123, at *1 (May 1, 2019).


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product is evaluated through expanded controlled and uncontrolled trials to further evaluate dosage

and to obtain evidence of potential clinical efficacy and safety. Id.

       After these phases are complete, a sponsoring company meets with the FDA for a “pre-

NDA meeting” to exchange information about the proposed drug marketing application. Id. ¶ 58

(citing 21 C.F.R. § 312.47(b)(2) (2024)). This meeting provides an opportunity to: “(1) ‘uncover

any major unresolved problems,’ (2) ‘identify those studies that the sponsor is relying on as

adequate and well-controlled to establish the drug’s effectiveness,’ (3) ‘identify the status of

ongoing or needed studies adequate to assess pediatric safety and effectiveness,’ (4) ‘acquaint FDA

reviewers with the general information to be submitted in the marketing application (including

technical information),’ (5) ‘discuss appropriate methods for statistical analysis of the data’ and

(6) discuss the best approach to the presentation and formatting of data in the marketing

application.” Id. (quoting 21 C.F.R. § 312.47(b)(2)).

       After the pre-NDA meeting the developer formally can request FDA approval of their drug

by submitting an NDA to the FDA. Id. ¶ 60. The NDA must include all clinical data and must

designate as “pivotal” the trials that establish the drug’s safety and efficacy. Id. The FDA either

accepts or refuses the filing. Id. ¶ 63 (citing 21 C.F.R. § 314.101(a) (2024)). If an NDA is accepted,

the FDA performs a substantive review and either approves the NDA or issues a Complete

Response Letter (“CRL”) rejecting the NDA. Id. ¶ 64. The two therapies at issue, reproxalap and

ADX-2191, were governed by different sections of the Federal Food, Drug and Cosmetic Act

(“FDCA”) and were, therefore, subject to different approval processes. See id. ¶¶ 12, 14, 51.




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                1.     Aldeyra Delays Submission of its NDA for Reproxalap and the FDA, After
                       Accepting the NDA, Indicates that Aldeyra Would Need to Conduct an
                       Additional Trial to Satisfy Efficacy Requirements

       Reproxalap is a topical solution developed for the treatment of dry eye disease (“DED”), a

chronic condition associated with eye dryness, redness, irritation and itchiness. Id. ¶ 45. The NDA

for reproxalap (the “Reproxalap NDA”) was subject to § 505(b)(1) of the FDCA, the

developmental pathway applicable to novel drugs, which requires the developer to conduct all

clinical trials necessary to demonstrate the drug’s safety and efficacy for its intended use. Id. ¶ 51;

21 U.S.C. § 355(b)(1). According to FDA guidance, to gain FDA approval for a DED therapy,

Aldeyra needed to submit at least two studies demonstrating statistically significant improvement

on a subjective symptom of DED (ocular pain, ocular itching or blurred vision) and at least two

studies demonstrating statistically significant improvement on an objective sign of DED (corneal

staining, conjunctival staining or decreased tear breakup time and decreased Schirmer’s tear test

score). See id. ¶¶ 72, 207, 211. Prior to the Class Period, Aldeyra had already conducted multiple

late-stage clinical trials with mixed results. Id. ¶ 74. The Company, therefore, conducted

additional Phase 3 clinical trials during the Class Period to complete the NDA requirements. See

id. ¶¶ 77–81.

       Clinical trials are designed to meet pre-determined endpoints reflecting the intended effects

of the drug. Id. ¶ 54. Primary endpoints are designed to establish the intended effect of the drug

and are used to demonstrate a drug’s efficacy. Id. Secondary endpoints lend support to primary

endpoints and/or demonstrate additional clinically important effects, but do not have to be met to

establish a drug’s efficacy. Id. Defendants have stated that primary endpoints are “the only

endpoints that ultimately matter.” Id. ¶ 112. Some trials are designed with multiple primary




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endpoints. Id. ¶ 55. Non-binding FDA guidance4 cited in the amended complaint explains that

some studies with multiple primary endpoints must demonstrate an effect on all primary endpoints

to support a conclusion of effectiveness, while others need only demonstrate an effect on one of

multiple primary endpoints. See id. ¶¶ 54–55; Multiple Endpoints Guidance, supra n.3. When an

effect on multiple primary endpoints is necessary, those endpoints are referred to as co-primary

endpoints. Multiple Endpoints Guidance, supra n.3.

        Separate, non-binding FDA guidance5 cited in the amended complaint instructs drug

developers to include an integrated summary of effectiveness (“ISE”) in their NDA. D. 27 ¶¶ 61–

62 (citing ISE Guidance, supra n.3). “The ISE is a comprehensive integrated analysis of the

effectiveness of a study drug. The purpose of the ISE is to describe the available information

regarding effectiveness, delineate strengths and weaknesses, and highlight important missing

information.” ISE Guidance, supra n.3. The guidance instructs that ISEs should “include both

close examination of individual study results and, when appropriate, combined quantitative

analyses (pooled analyses),” but cautions that “prospectively planned efficacy analyses across two

or more studies in a development program is uncommon,” and most pooled analyses “are designed

to probe the data for trends across more than one study.” Id. The guidance also notes that the “the

integrated analysis is not a substitute for the analysis of individual studies . . . the individual studies

. . . that demonstrate the effect of the drug . . . are [the] studies that provide the substantial evidence

of effectiveness required for approval.” Id.


        4
          The Multiple Endpoints Guidance notes that it “represents the current thinking of [the
FDA] on this topic. It does not establish any rights for any person and is not binding on FDA or
the public. You can use an alternative approach if it satisfies the requirements of the applicable
statutes and regulations.” Multiple Endpoints Guidance, supra n.3.
        5
          Like the Multiple Endpoints Guidance, the ISE Guidance notes that it “represents the
current thinking of [the FDA]” and that “[i] general, FDA’s guidance documents do not establish
legally enforceable responsibilities.” ISE Guidance, supra n.3.
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       In December 2019, prior to the start of the Class Period, Aldeyra had disclosed that its

Phase 3 RENEW Part 1 Trial (“RENEW Part 1 Trial”) showed statistically significant

improvement in its co-primary symptom endpoint (ocular dryness), but not its co-primary sign

endpoint (ocular staining). D. 27 ¶ 4. According to Plaintiffs, because the trial did not meet one

of its co-primary endpoints it could not help satisfy the efficacy requirements for the Reproxalap

NDA. See, e.g., id. ¶ 57. Nevertheless, throughout the Class Period, Defendants represented to

investors that they believed the RENEW Part 1 Trial and a separate trial called the Phase 2

Formulation Trial satisfied its symptom trial requirements. Id. ¶ 76.

       At the start of the Class Period on January 7, 2021, Aldeyra announced positive results

from its “run-in cohort” of the Phase 3 TRANQUILITY-1 Trial and Brady shared on a public

conference call that Aldeyra “expect[ed] to initiate the main cohort of TRANQUILITY in

February.” Id. ¶ 177. On the same call, David B. McMullin, Aldeyra’s Chief Business Officer

stated that the Company “expect[ed] to be in a position to file [its] NDA at the end of [the] year.”

Id. ¶ 180. Throughout the Class Period, the Company represented that it would designate either

its Phase 3 TRANQUILITY-1 Trial or its Phase 3 TRANQUILITY-2 Trial as one of its pivotal

sign trials. Id. ¶ 77. Defendants also represented that if either trial failed, they could pool the

results with those from the other TRANQUILITY trial or with positive results from separate trials

as a backup plan. Id. Plaintiffs assert that such pooling was impermissible under the ISE

Guidance. Id. ¶ 73.

       On November 2, 2021, Aldeyra disclosed that the Phase 2 Dry Eye Chamber Trial had

achieved its primary sign endpoint of ocular redness. Id. ¶ 106. On November 9, 2021, the

Company disclosed the study could serve as one of its pivotal sign trials. Id. ¶ 108.




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       On December 20, 2021, the Company announced the “main cohort” results of the

TRANQUILITY-1 Trial and shared that although the primary endpoint of ocular redness was not

met, a secondary endpoint was met. Id. ¶ 217. In this disclosure, Aldeyra also adjusted its

anticipated submission date for the Reproxalap NDA to mid-2022.              Id.   Following this

announcement, Aldeyra’s stock price fell by $3.63, or 50.9%, to close at $3.50 per share on

December 21, 2021. Id. ¶ 118. During the Class Period, Defendants represented that the results

from the TRANQUILITY-1 study could be pooled to meet Aldeyra’s efficacy requirements even

though the study failed to meet its primary endpoint. Id. ¶ 79.

       On June 8, 2022, Aldeyra announced that the TRANQUILITY-2 Trial had met its primary

endpoint and stated that it believed it had now satisfied its sign trial requirements. Id. ¶ 243.

Nevertheless, the Company would continue with two additional trials, which it believed would

provide extra support for the Reproxalap NDA: the 1-Day Schirmer’s Test Trial and the Crossover

Trial. See id. ¶¶ 245–46. Brady also shared that the Company expected to hold its pre-NDA

meeting with the FDA “in the third quarter of 2022 followed by a potential NDA submission soon

thereafter.” Id. ¶ 243. On July 12, 2022, after announcing that the Crossover Trial met its primary

sign endpoints and its secondary symptom endpoints, id. ¶ 252, Brady stated that the one-day

Schirmer trial would be put on hold and “in the very unlikely situation that there are remaining

questions about the clinical package, we’ll be prepared to initiate that trial effectively

immediately,” id. ¶ 135.

       On November 29, 2022, Aldeyra submitted an NDA designating the RENEW Part 1 Trial

and Phase 2 Formulation Trial as its two pivotal symptom trials, the Phase 3 TRANQUILITY-2

Trial and the Phase 2 Dry Eye Chamber Trial as its two pivotal sign trials and the Crossover Trial




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as a fifth pivotal trial. Id. ¶¶ 82, 266. Aldeyra announced that the FDA accepted this NDA on

February 7, 2023. Id. ¶ 271.

       On October 16, 2023, Aldeyra disclosed the results of a late-cycle review meeting with the

FDA regarding the Reproxalap NDA, in which the FDA “indicated that Aldeyra needs to conduct

an additional clinical trial to satisfy efficacy requirements.” Id. ¶ 281. Throughout the Class

Period, Defendants had represented that they were on track to satisfy the FDA’s chemistry,

manufacturing and control (“CMC”) requirements, see id. ¶¶ 188, 194, 203, 230, 248, yet in the

October 16, 2023, disclosure Aldeyra revealed the FDA had requested certain CMC details, id. ¶

281. This disclosure also stated that following receipt of the FDA’s feedback, the Company had

“submitted responses to the FDA that Aldeyra believes to be sufficient to mitigate the identified

review issues[.]” Id. Following this announcement, Aldeyra’s stock price fell by $3.60, of 66.3%,

to close at $1.83 per share on October 16, 2023. Id. ¶ 163.

       On November 27, 2023, after the Class Period had ended, Aldeyra disclosed it had received

a CRL from the FDA denying the Reproxalap NDA, noting that Aldeyra’s NDA “did not

demonstrate efficacy in treating ocular symptoms associated with dry eyes” and would require “at

least one additional adequate and well-controlled study to demonstrate a positive effect on the

treatment of ocular symptoms of dry eye.” Id. ¶ 165.

               2.     After Accepting the NDA, the FDA Issues a CRL for ADX-2191

       ADX-2191 is an injectable solution Alderya designed to treat a rare ocular cancer called

primary vitreoretinal lymphoma (“PVRL”). Id. ¶¶ 6, 45. Because ADX-2191 was a modification

of an FDA-approved drug, methotextrate, rather than a novel therapy, it was subject to an alternate

FDA approval process pursuant to FDCA § 505(b)(2). 21 U.S.C. § 355(b)(2); D. 27 ¶¶ 45, 66.




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Under § 505(b)(2), an NDA may rely upon clinical trials conducted by someone other than the

applicant to demonstrate the efficacy and safety of the proposed drug. Id. ¶ 67.

       The amended complaint references two guidance documents concerning § 502(b)(2)

applications. See e.g., D. 27 ¶ 68 (referencing Indust. 505(b)(2) Guidance, supra n.3); id. ¶ 69

(referencing ANDA 505(b)(2) Guidance, supra n.3). Both are non-binding and describe “the

Agency’s current thinking on a topic and should be viewed only as recommendations.” ANDA

505(b)(2) Guidance, supra n.3; see Indust. 505(b)(2) Guidance, supra n.3. The Industry 505(b)(2)

Guidance is draft and was never finalized. See ANDA 505(b)(2) Guidance, supra n.3 (describing

the Indus. 505 Guidance, supra n.3 as a “draft”). The ANDA 505(b)(2) Guidance provides that

“[a] 505(b)(2) applicant may rely on FDA’s finding of safety and/or effectiveness for a listed drug

only to the extent that the proposed product in the 505(b)(2) application shares characteristics . . .

in common with the relied-upon listed drug(s).” Id. Although “[t]he applicant is expected to

establish a bridge (e.g., by using comparative bioavailability data) between the proposed drug

product and each listed drug that the applicant seeks to rely upon to demonstrate that reliance on

the listed drug is scientifically justified,” a scientific bridge is not always necessary “[i]f FDA has

approved one or more pharmaceutically equivalent products in one or more NDAs before the date

of the submission of the original 505(b)(2) application.” Id.

       On January 14, 2021, Aldeyra stated that it had received comments from the FDA which it

believed “indicated that submission of a[n NDA] for ADX-2191 for the treatment of PVRL may

be possible without performing clinical trials.” D. 27 ¶ 91. The Company reiterated this belief

throughout the Class Period. See id. ¶¶ 190, 227, 255. On December 21, 2022, the Company

announced it had submitted an NDA for ADX-2191 “supported by a combination of published

literature on the safety and efficacy of methotextrate for the treatment of primary vitreoretinal



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lymphoma and safety data from the recently completed Phase 3 GUARD Trial of ADX-2191 in

proliferative vitreoretinopathy.” Id. ¶ 269. On March 2, 2023, the Company announced the FDA

had accepted the NDA. Id. ¶ 273. On June 21, 2023, Aldeyra disclosed that it had received a CRL

from the FDA denying the ADX-2191 NDA. Id. ¶ 159. According to that press release, the FDA

had cited a “lack of substantial evidence of effectiveness” due to “a lack of adequate and well-

controlled investigations” in the NDA submission. Id. Following this announcement, Aldeyra’s

stock price fell by $2.92, or 27.44%, to close at $7.72 per share on June 21, 2023. Id. ¶ 161.

               3.      Throughout the Class Period, Aldeyra Repeatedly Disclosed the Risk that
                       the FDA Might Not Approve the NDAs

       Throughout the Class Period, Aldeyra repeatedly disclosed the risks associated with the

FDA approval process. For example, Aldeyra disclosed that it was “dependent in large part on

successful continued development and ultimate regulatory approval and successful

commercialization of reproxalap and ADX-2191,” D. 32-40 at 4; see D. 32-26 at 9; D. 32-29 at 9;

D. 32-37 at 9, and that while it was “currently planning to submit” an NDA to the FDA for

reproxalap, “[Aldeyra] can provide no assurances that the FDA will accept [this] NDA[] for

review” and, “even if FDA does accept [Aldeyra’s] NDA[] for review, there can be no assurance

that FDA will agree with [its] interpretation of the data, that FDA will not require [Aldeyra] to

conduct additional clinical trials or provide additional data, or that FDA will approve [Aldeyra’s]

NDA[] in a timely fashion, or at all,” D. 32-18 at 4; see D. 32-26 at 10; D. 32-29 at 6; D. 32-37 at

4; D. 32-40 at 4. After the NDAs for reproxalap and ADX-2191 were accepted by FDA in early

2023, Aldeyra further warned that “FDA’s decision to accept the NDAs for filing . . . does not

indicate that it has made any decision regarding approval,” that “FDA has substantial discretion in

the approval process and may disagree with [Aldeyra’s] interpretation of or the sufficiency of the

data from [its] clinical trials,” that “FDA could also require that [Aldeyra] conduct additional

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studies or clinical trials” and that “[t]here can be no assurance that NDAs accepted for filing by

the FDA will be approved in a timely manner or at all.” D. 32-49 at 11; see D. 32-52.

       B.        Plaintiffs Allege Defendants Made Materially Misleading Statements and/or
                 Omissions about Reproxalap and ADX-2191 During the Class Period

       Plaintiffs allege that during the Class Period Defendants made materially misleading

statements and/or omissions about reproxalap and ADX-2191 in violation of Section 10(b), SEC

Rule 10b-5 and Section 20(a) of the Exchange Act which caused significant loss to investors who

purchased Aldeyra’s stock during the Class Period in reliance upon Defendants’ false and/or

misleading statements and/or omissions. D. 27 ¶¶ 177, 179, 180, 182, 184, 186, 188, 190, 192,

193, 194, 196, 198, 200, 201, 203, 205, 207, 209, 211, 213, 215, 217, 219, 221, 223, 225, 227,

229, 230, 232, 234, 235, 237, 239, 241, 243, 245, 246, 248, 250, 252, 253, 255, 256, 258, 261,

263, 264, 266, 268, 269, 271, 273, 275, 277, 279, 281.

       With respect to reproxalap, Plaintiffs challenge multiple categories of statements

concerning: (i) the progress of clinical trials;6 (ii) the timeline of the NDA submission and potential

commercialization;7 (iii) the content of the NDA, including Defendants’ optimistic beliefs about

its strength8 and (iv) the adequacy of Aldeyra’s CMC data.9 Plaintiffs allege these statements were

“false and/or misleading” because: (i) under FDA guidance, the Phase 3 RENEW-Part 1 Trial




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         Id. ¶¶ 177, 186, 188, 192, 193, 196, 198, 205, 207, 209, 211, 217, 219, 223, 229, 230,
232, 241, 243, 245, 246, 252, 258.
       7
         Id. ¶¶ 177, 179, 180, 192, 194, 200, 201, 207, 209, 221, 225, 229, 230, 232, 237, 241,
252, 264.
       8
         Id. ¶¶ 179, 180, 182, 184, 188, 193, 196, 200, 203, 207, 211, 213, 215, 217, 219, 223,
230, 232, 235, 237, 241, 243, 245, 246, 250, 252, 253, 258, 261, 263, 264, 266, 271, 275, 281.
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           Id. ¶¶ 188, 194, 203, 230, 248.


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could not support an NDA because it failed to meet one of its co-primary endpoints;10 (ii)

Defendants intended to “pool” data in their NDA submission but FDA guidance prohibited using

pooled data to show efficacy;11 (iii) Defendants’ predicted approval timeline would be delayed due

to enrollment challenges and a need for additional trials to make up for the purported deficiencies

in the existing trials12 and (iv) CMC data needed for the NDA was insufficient.13

       With respect to ADX-2191, Plaintiffs challenge statements concerning: (i) the content of

Aldeyra’s NDA for ADX-219114 and (ii) the expected timing of the NDA submission and

commercial prospects for ADX- 2191.15 Plaintiffs allege these statements were “false and/or

misleading” because the FDA would not approve a “literature-based” NDA for ADX-2191.16

       Except for the allegations regarding non-disclosure of program delays and deficiencies in

CMC data, each of these purported misrepresentations stems from the non-disclosure of the NDAs’

alleged non-compliance with FDA guidance.




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          Id. ¶¶ 178, 181, 183, 185, 187, 189, 195, 197, 199, 202, 204, 206, 208, 210, 212, 214,
216, 218, 220, 224, 231, 233, 236, 238, 242, 244, 247, 251, 254, 262, 265, 267, 272, 276, 282.
       11
          Id. ¶¶ 178, 181, 183, 185, 187, 189, 195, 197, 204, 206, 208, 210, 212, 216, 218, 220,
224, 236, 242, 247, 251, 254, 262, 265, 267, 272, 282.
       12
          Id. ¶¶ 178, 181, 183, 185, 187, 189, 202, 204, 208, 210, 212, 216, 218, 222, 224, 231,
233, 238, 240, 242, 244, 247, 249, 259.
       13
            Id. ¶¶ 189, 204, 231, 249.
       14
            Id. ¶¶ 190, 198, 227, 255, 256, 268, 269, 273, 275, 277, 279.
       15
            Id. ¶¶ 201, 209, 239, 264, 279.
       16
            Id. ¶¶ 191, 199, 202, 210, 228, 240, 257, 265, 270, 274, 276, 278, 280.
                                                 13
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IV.    Procedural History

       This class action was initiated on July 31, 2023. D. 1. Plaintiffs filed an amended

complaint on January 2, 2024. D. 27. Defendants have now moved to dismiss. D. 30. The Court

heard the parties on the pending motion and took the matter under advisement. D. 43.

V.     Discussion

       A.      Section 10(b) and Rule 10b-5 Claim (Count I)

       To state a claim under Section 10(b) and Rule 10b-5, Plaintiffs must plead the following

“six elements”: “(1) a material misrepresentation or omission; (2) scienter; (3) a connection with

the purchase or sale of a security; (4) reliance; (5) economic loss; and (6) loss causation.” City of

Miami Fire Fighters’ & Police Officers’ Ret. Tr. v. CVS Health Corp., 46 F.4th 22, 30 (1st Cir.

2022) (quoting Constr. Indus. & Laborers Joint Pension Tr. v. Carbonite, Inc., 22 F.4th 1, 6 (1st

Cir. 2021)). Defendants argue that Plaintiffs have failed to plead a material misrepresentation or

omission, scienter and loss causation. D. 31 at 18–38.

               1.      Scienter

       Defendants argue that Plaintiffs have failed to allege facts supporting a strong inference of

scienter. D. 31 at 18–30. “Scienter is defined as either the ‘intentional or willful conduct designed

to deceive or defraud investors’ or ‘a high degree of recklessness.’” Metzler Asset Mgmt. GmbH

v. Kingsley, 928 F.3d 151, 158 (1st Cir. 2019) (quoting In re Biogen Inc. Sec. Litig., 857 F.3d 34,

41 (1st Cir. 2017)). Recklessness in this context refers to “a highly unreasonable omission”

involving “an extreme departure from the standards of ordinary care, and which presents a danger

of misleading buyers and sellers that is either known to the defendant or is so obvious that the actor

must have been aware of it.” Brennan v. Zafgen, Inc., 853 F.3d 606, 613 (1st Cir. 2017) (internal

quotation marks and citation omitted). This “definition of recklessness does not encompass


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ordinary negligence and is closer to a lesser form of intent than merely a greater degree of ordinary

negligence.” Greebel v. FTP Software, Inc., 194 F.3d 185, 199 (1st Cir. 1999); see Brennan, 853

F.3d at 613. Defendants must have had the requisite scienter at the time of the allegedly fraudulent

statements. See In re Ariad Pharms., Inc. Sec. Litig., 842 F.3d 744, 751 (1st Cir. 2016).

       PSLRA’s requirement to plead facts giving rise to a “strong inference” of scienter means

that “[a] complaint will survive . . . only if a reasonable person would deem the inference of scienter

cogent and at least as compelling as any opposing inference one could draw from the facts alleged.”

Tellabs, 551 U.S. at 324. Thus, in evaluating securities class action complaints, courts “must take

into account plausible opposing inferences.” Id. at 323. Courts conducting such an inquiry must

determine “whether all of the facts alleged, taken collectively, give rise to a strong inference of

scienter, not whether any individual allegation, scrutinized in isolation, meets that standard.”

Tellabs, 551 U.S. at 322–23 (emphasis in original).

                       a)      Actual knowledge or recklessness regarding noncompliance with
                               applicable FDA guidance

       Plaintiffs claim that Defendants had actual knowledge of Aldeyra’s noncompliance with

FDA guidance. D. 33 at 28–30. The only facts Plaintiffs highlight to support this claim are

references the Defendants made to a FDA Guidance document. D. 33 at 28 (citing D. 27 ¶¶ 108,

112, 207). According to Plaintiffs, the applicable guidance was “straightforward and, on its face,

[] not capable of reasonable alternative interpretations,” therefore, to the extent it “can be

considered a matter of ‘scientific opinion’ . . . Defendants knowingly, or at minimum, recklessly,

departed from their own ‘scientific opinion.’” Id. at 28–29.

       Such allegations, however, do not indicate that Defendants intentionally or recklessly

disregarded their noncompliance with applicable FDA Guidance. See D. 31 at 22–24; D. 38 at 7–

12. Although the guidance concerning multiple endpoint trials noted that trials with co-primary

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endpoints must meet both endpoints to be considered effective, that same guidance identified

circumstances in which a trial may be sufficient if it meets only one of several endpoints. D. 31 at

23; Multiple Endpoints Guidance, supra n.3. Defendants used the term “co-primary endpoint” in

reference to the endpoints of the RENEW Part 1 Trial, see e.g., D. 27 ¶ 168, but this hardly suggests

recklessness. Plaintiffs, for one example, cannot explain why, if Defendants knew prior to the

Class Period that Aldeyra had not fulfilled its symptom requirements, they would spend most of

the Class Period investing in trials with primary sign endpoints, and no time and money investing

in trials with primary symptom endpoints. Plaintiffs’ purported fraudulent inference – that

Defendants made significant investments in one category of clinical trial, while choosing not to

correct a known deficiency in another category – is less compelling than the competing non-

fraudulent inference – that Defendants thought they complied with the guidance and proceeded

accordingly. Tellabs, 551 U.S. at 324.

       Plaintiffs’ theories regarding the ISE Guidance and the ANDA 505(b)(2) Guidance are even

less compelling. While Plaintiffs assert the ISE Guidance prohibits applicants from “pool[ing] the

positive results of multiple trials together to demonstrate efficacy,” D. 27 ¶ 73, the guidance

encourages pooling for some purposes, D. 23 at 39 (citing ISE Guidance, supra n.2). As

Defendants explain, “[w]hile the guidance says that ‘prospectively planned efficacy analyses

across two or more studies in a development program is [sic] uncommon,’ ‘uncommon’ does not

mean prohibited.” D. 31 at 23 n.25 (citing ISE Guidance, supra n.3). Similarly, Plaintiffs allege

the ANDA 505(b)(2) Guidance required Aldeyra “to provide bridging evidence to justify its

reliance on prior studies showing the safety and efficacy of methotrexate in its FDA-approved

iterations as sufficient to demonstrate the safety and efficacy of ADX-2191 to treat PVRL to gain

FDA approval.” D. 27 ¶ 191. This guidance, however, requires bridging only when “scientifically



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necessary.” D. 31 at 24 (citing ANDA 505(b)(2) Guidance, supra n.3). Plaintiffs have not pled

facts suggesting that Defendants knew bridging data was “scientifically necessary” for ADX-2191.

       As Defendants observe, D. 31 at 18–19; D. 38 at 7, the amended complaint does not

otherwise identify any admission, internal record, witnessed discussion or communication to

suggest that Alderya knew or was warned that its NDAs failed to comply with FDA guidance.

D. 27. Instead, the facts supporting Plaintiffs’ theory of fraud were publicly disclosed. D. 38 at 8.

The applicable FDA guidance was public, so were the facts Plaintiffs allege support non-

compliance. See id. at 8–9; D. 27 ¶¶ 4, 17, 136. Without facts to support their theory, Plaintiffs’

scienter allegations amount to their own scientific opinion. But a scientific disagreement cannot

support a claim of securities fraud. See Harrington v. Tetraphase, No. 16-cv-10133-LTS, 2017 WL

1946305, at *5 (D. Mass. May 9, 2017) (stating that “scientific opinions are just that: opinions”);

In re Sepracor, Inc. Sec. Litig., 308 F. Supp. 2d 20, 35–36 (D. Mass. 2004) (rejecting scienter

allegations based upon “subjective scientific disagreements”);17 In re Medimmune, Inc. Sec. Litig.,

873 F. Supp. 953, 966–67 (D. Md. 1995) (rejecting scienter allegations because “[m]edical

researchers may well differ over the adequacy of given testing procedures” and plaintiffs “pleaded

no specific facts to show why [d]efendants knew or should have known [their use of blinding in a

study] to be a problem”).




       17
           Plaintiffs rely upon a separate holding in Sepracor to argue Defendants were obliged to
disclose known facts concerning their deviations from FDA guidance. D. 33 at 21–22. But the
facts Plaintiffs rely upon to establish Aldeyra’s deviations from FDA guidance were disclosed. In
contrast, the allegations that survived in Sepracor related to a fact that was withheld – that the
Company’s drug had a specific side-effect explicitly disallowed by the FDA. Sepracor, 308 F.
Supp. 2d. at 28.
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                       b)      Knowledge or recklessness with respect to CMC data and program
                               delays

       Plaintiffs allege Aldeyra knowingly made materially false and/or misleading statements

concerning the adequacy of its CMC data, D. 27 ¶¶ 189, 204, 231, 249, but the only fact supporting

this inference is the FDA’s October 2023 request for information regarding CMC, id. ¶ 281. This

request alone cannot support an inference that Aldeyra knowingly or recklessly made materially

false and/or misleading positive representations regarding its CMC package based upon the

information they possessed at the time. See Corban v. Sarepta Therapeutics, Inc., 868 F.3d 31, 39

(1st Cir. 2017) (concluding an “overly optimistic” announcement did not support securities fraud

in the absence of prior knowledge).

       The same is true for Plaintiffs’ allegations regarding program delays. As Defendants note,

the amended complaint contains no allegation “that any [i]ndividual Defendant was alerted to any

delays before they were disclosed, or otherwise did not honestly believe” in the Company’s

timeline predictions. D. 31 at 23. A subsequent adjustment of a company’s timeline cannot

support an inference of scienter. See e.g., Ganem v. InVivo Therapeutics Holdings Corp., 845

F.3d 447, 457 (1st Cir. 2017) (affirming dismissal where plaintiff did not “point to any FDA

requirement” supporting contention that company should have known its projected timeline for

submission of data was “impossible to achieve” and explaining that defendant did not commit

securities fraud by failing to have “greater clairvoyance” (citation omitted)).

                       c)      Motive and Opportunity

       A “plaintiff may combine various facts and circumstances indicating fraudulent intent to

show a strong inference of scienter,” including allegations “that the defendants had the motive

(‘concrete benefits that could be realized by . . . the false statements and wrongful nondisclosures’)

and opportunity (‘the means and likely prospect of achieving concrete benefits by the means

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alleged’) to commit the fraud.” Aldridge, 284 F.3d at 82 (alteration in original) (quoting Novak

v. Kasaks, 216 F.3d 300, 307 (2d Cir. 2000)) (further citation omitted). “[W]hile mere allegations

of motive and opportunity alone may be insufficient, together with additional factual support,

evidence of motive and opportunity may establish a strong inference of scienter.” Id.

       As alleged, Defendants misled investors by selling the Company’s stock at artificially

inflated prices to “raise much-needed cash to continue to operate the business as a going concern,”

to win “a lucrative commercial partnership with a larger, more established company,” to meet the

Company’s “numerous financial obligations” and to realize personal benefits under the Company’s

equity incentive plans and Management Cash Incentive Plan. D. 27 ¶¶ 284–91.

       Even assuming Plaintiffs adequately pled motive, they still have not alleged sufficient facts

to establish a strong inference of scienter. Plaintiffs cite Skiadas v. Acer Therapeutics Inc., No.

19-cv-6137-GHW, 2020 WL 4208442, at *7 (S.D.N.Y. July 21, 2020) for the proposition that

allegations regarding a defendant company’s need to raise capital may establish scienter. D. 33 at

31. Skiadas, however, noted that the defendants’ need to raise money “was only one factor

supporting an inference of scienter.” Skiadas, 2020 WL 4208442, at *5. Here, Plaintiffs have

plead no additional facts to support such an inference. Accordingly, Plaintiffs’ allegations of

Defendants’ motive and opportunity fail to establish a strong inference of scienter. Geffon v.

Micrion Corp., 249 F.3d 29, 36 (1st Cir. 2001) (asserting that “a plaintiff must allege some

additional misconduct from which a jury can draw a reasonable inference of intentional

deception”); see Lenartz v. Am. Superconductor Corp., 879 F. Supp. 2d 167, 185–86 (D. Mass.

2012) (noting that the “mere statement” that a company obtained funding tied to an allegedly

inflated stock price is “insufficient to create a strong inference either of an intent to deceive or of

recklessness” (internal citation omitted)).



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                      d)      Core Operations Theory

       Plaintiffs further contend that a “core operations” theory supports a strong inference of

scienter. D. 27 ¶¶ 295–300. Under such a theory, “[f]acts critical to a business’s core operations

. . . are so apparent that their knowledge may be attributed to the company and its officers.”

Crowell v. Ionics, Inc., 343 F. Supp. 2d 1, 19 (D. Mass. 2004) (alteration and internal citation

omitted). Courts, however, “have been hesitant to apply significant weight to ‘core operations’

allegations without other significant evidence of a defendant’s intent or recklessness, or a ‘plus

factor.’” In re Biogen Inc. Sec. Litig., 193 F. Supp. 3d 5, 51 (D. Mass. 2016) (quoting In re A123

Sys., Inc. Sec. Litig., 930 F. Supp. 2d 278, 285 (D. Mass. 2013)). “As a general matter, corporate

management’s general awareness of the day-to-day workings of the company’s business does not

establish scienter—at least absent some additional allegation of specific information conveyed to

management and related to the fraud or other allegations supporting scienter.” Metzler, 928 F.3d

at 165 (quoting S. Ferry LP, No. 2 v. Killinger, 542 F.3d 776, 784–85 (9th Cir. 2008)) (internal

quotation marks and further citation omitted).

       Plaintiffs argue that the core operations doctrine supports a strong inference of scienter

because Reproxalap and ADX-2191 were Aldeyra’s first and second lead product candidates

respectively, Aldeyra was “an extremely small Company” that stated publicly that it was “highly

dependent on the development, regulatory, commercial, and financial expertise of [its] senior

management team” and the individual Defendants were “extremely experienced in the biotech

industry and FDA regulatory approval process.” D. 27 ¶¶ 295–300. Moreover, Plaintiffs argue

that Defendants’ references to FDA Guidance as “requirements” suggests “an inference that

Defendants knew or recklessly disregarded the risks of Aldeyra’s noncompliance with FDA

Guidance.” D. 33 at 32. None of these allegations provide “significant evidence of . . . intent or



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recklessness” because they do not show that Defendants knew they were not complying with FDA

Guidance. See In re Biogen, 193 F. Supp. 3d at 51.

                       e)      Weighing Opposing Inferences

       Considering the complaint as a whole including “plausible opposing inferences,” Tellabs,

551 U.S. at 323, the stronger inferences favor Defendants. Plaintiffs’ theory of scienter relies upon

the unsupported claim that Defendants had actual knowledge or at least recklessly disregarded that

they were not in compliance with FDA Guidance. See, e.g., D. 33 at 34–35. But multiple factors

support a stronger inference of nonfraudulent intent. First, Aldeyra’s investment in multiple,

separate clinical trials for reproxalap before and during the Class Period demonstrates that it

thought “positive results were possible, even if not probable.” D. 27 ¶¶ 74–75, 77–81; Loc. No.

8 IBEW Ret. Plan & Tr. v. Vertex Pharms., Inc., 838 F.3d 76, 81 (1st Cir. 2016).

       Second, multiple studies showing reproxalap’s safety and efficacy support an inference that

Defendants believed the NDAs for reproxalap and ADX-2191 were compelling.18 Whitehead v.

Inotek Pharms. Corp., No. 17-cv-10025-LTS, 2018 WL 4732774, at *5 (D. Mass. June 27, 2018)

(reasoning that a trial with mixed positive and negative results supported an inference that

defendants had “expressed their sincere view as to the future of [their product]”).

       Third, Aldeyra’s preliminary interactions with the FDA support an inference that

Defendants were genuinely optimistic about its approval prospects. Specifically, Aldeyra met with

the FDA at least three times between March 2021 and September 2022 and announced that it

believed it was “aligned with the FDA on the content of the regulatory package.” Id. ¶ 142.



       18
           See id. ¶ 46 (RENEW Part 1 Trial met co-primary symptom endpoint of ocular dryness);
id. ¶ 78 (Phase 2 Dry Eye Chamber Trial met primary sign endpoint of ocular redness); id. ¶ 80
(TRANQUILITY-2 Trial met primary sign endpoint of Schirmer’s Test); id. ¶ 81 (Crossover Trial
met primary sign endpoints of ocular redness and Schirmer’s Test); id. ¶ 150 (safety trial showed
“lack of treatment-related serious adverse events”).
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Likewise, after discussing ADX-2191 with the FDA in January 2021 and December 2022, the

Company interpreted the FDA’s feedback on its literature-based approach as positive. Id. ¶¶ 91,

147. Moreover, the FDA’s acceptance of both NDAs reflects its “threshold determination” that

they were “sufficiently complete to permit a substantive review.” Corban, 868 F.3d at 34.

        Finally, a nonculpable inference is particularly strong because Defendants repeatedly

published disclaimers about the possibility that the FDA would require additional studies or data

collection, see Corban, 868 F.3d at 38–39, and promptly disclosed the FDA’s adverse decisions,

D. 27 ¶¶ 23, 25; see Fire & Police Pension Ass’n of Colo. v. Abiomed, Inc., 778 F.3d 228, 243

(1st Cir. 2015) (stating that company’s prompt disclosure of FDA warning letter did not represent

“the actions of a company bent on deceiving investors as to their future earnings prospects”); In re

Genzyme Corp. Sec. Litig., 754 F.3d 31, 42 (1st Cir. 2014).             In addition, the purported

“deficiencies” in the NDAs were disclosed: Aldeyra announced both that its RENEW Part 1 Trial

was designed with two co-primary endpoints and only one was met, D. 27 ¶ 4, and that it submitted

its RENEW Part 1 Trial as one of its five “pivotal” trials for its NDA, id. ¶ 82. Likewise, the basis

for Plaintiffs’ allegations concerning the pooling of data comes from public information. See, e.g.,

id. ¶ 215.

        Because the allegations in the amended complaint provide more support for nonculpable

explanations for Defendants’ statements than culpable ones, Plaintiffs have not carried their burden

of pleading facts and circumstances supporting a strong inference of scienter. See Leavitt v.

Alnylam Pharms. Inc., 451 F. Supp. 3d 176, 187–88 (D. Mass. 2020) (noting that plaintiff bears

the burden of asserting facts regarding scienter).




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                       f)      Corporate Scienter

        Plaintiffs allege corporate scienter by asserting that (1) the scienter of the individual

Defendants should be imputed to the Company, or, alternatively, (2) other “appropriate corporate

officers” had knowledge related to the alleged fraud. D. 27 ¶¶ 301–02. But as discussed, Plaintiffs

have not alleged the scienter of any individual Defendant, nor have they plead facts that suggest

any other “appropriate corporate officer” had knowledge related to the alleged fraud, see, e.g.,

Isham v. Perini Corp., 665 F. Supp. 2d 28, 37 (D. Mass. 2009). Plaintiffs’ corporate scienter claim

thus fails.

               2.      Actionable Misrepresentations or Omissions

        Although the Court need not reach this element in the absence of the requisite element of

scienter sufficiently plead, the Court addresses it in the interest of completeness. Defendants argue

that the amended complaint fails to allege an actual misstatement or omission on multiple grounds,

including that (1) it does not plead with particularity that any statements about reproxalap or ADX-

2191 were false or misleading when made and (2) the amended complaint challenges forward-

looking statements immunized by the PSLRA. D. 31 at 30–37.19

                       a)      Materially False or Misleading

        “To establish a material misrepresentation or omission, [Plaintiffs] must show ‘that

defendants made a materially false or misleading statement or omitted to state a material fact

necessary to make a statement not misleading.’” Ganem, 845 F.3d at 454 (quoting Geffon, 249

F.3d at 34).




        19
          Defendants also assert that the amended complaint fails to allege a misstatement or
omission on the grounds that it challenges inactionable statements of opinion and immaterial
puffery. Id. The Court need not address these grounds because it otherwise concludes the amended
complaint fails to plead a misstatement or omission.
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       With respect to affirmative statements, the truth or falsity of same is “a relatively

straightforward analysis,” see In re Cytyc Corp. Sec. Litig., No. 02-cv-12399-NMG, 2005 WL

3801468, at *14 (D. Mass. Mar. 2, 2005), report and recommendation adopted, No. 02-cv-12399-

NMG (D. Mass. Mar. 22, 2005), but whether a statement is misleading “depends on the perspective

of a reasonable investor,” Karth v. Keryx Biopharmaceuticals, Inc., 6 F.4th 123, 135 (1st Cir. 2021)

(quoting Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension Fund, 575 U.S. 175, 186

(2015)).

       With respect to omissions, Section 10(b) “do[es] not create an affirmative duty to disclose

any and all material information.” In re Bos. Sci. Corp. Sec. Litig., 686 F.3d 21, 27 (1st Cir. 2012)

(alteration in original) (quoting Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011));

see Sec. & Exch. Comm’n v. Johnston, 986 F.3d 63, 72 (1st Cir. 2021) (noting that “[i]t is well-

settled that the ‘mere possession of . . . nonpublic information does not create a duty to disclose

it’” (quoting In re Smith & Wesson Holding Corp. Sec. Litig., 669 F.3d 68, 74 (1st Cir. 2012))).

Moreover, the duty to disclose “extends . . . only where affirmative statements are made and the

speaker fails to ‘reveal . . . those facts that are needed so that what was revealed would not be so

incomplete as to mislead.’” Bos. Sci. Corp., 686 F.3d at 27 (alteration in original) (quoting Hill,

638 F.3d at 57).

       “Information is material if a reasonable investor would have viewed it as ‘having

significantly altered the total mix of information made available.’” Ponsa-Rabell v. Santander Sec.

LLC, 35 F.4th 26, 33 (1st Cir. 2022) (quoting Miss. Pub. Emps.’ Ret. Sys. v. Bos. Sci. Corp., 523

F.3d 75, 85 (1st Cir. 2008)). The Court considers “the entirety of the relevant facts available at the

time of the allegedly misleading statement, not simply the words of the statement itself.” Id.

Although “[m]ateriality is usually a matter for the trier of fact,” ACA Fin., 512 F.3d at 65, “courts



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have demonstrated a willingness to find immaterial as a matter of law a certain kind of rosy

affirmation commonly heard from corporate managers and numbingly familiar to the

marketplace—loosely optimistic statements that are so vague, so lacking in specificity, or so

clearly constituting the opinions of the speaker, that no reasonable investor could find them

important to the total mix of information available.” Shaw v. Digital Equip. Corp., 82 F.3d 1194,

1217 (1st Cir. 1996).

       The amended complaint fails to identify any statement that was false or misleading when

made. All purported deficiencies in the NDAs were disclosed, as was the possibility of enrollment

delays and changes to the approval timeline. See, e.g., D. 27 ¶¶ 4, 17, 136; D. 32-10 at 15; Simon

v. Abiomed Inc., 37 F. Supp. 3d 499, 521 (D. Mass. 2014) (concluding a company’s emphasis of

favorable data was not misleading because investors “had access to the full information”), aff’d,

778 F.3d 228 (1st Cir. 2015). Likewise, although Plaintiffs assert the reproxalap CMC data was

insufficient, they do not explain why or how.         They have, therefore, failed to “plead the

circumstances of the fraud with particularity, pursuant to Rule 9(b).” Hill, 638 F.3d at 55.

                        b)     Safe Harbor

       The PSLRA’s “safe harbor” provisions further immunize Defendants’ statements. These

provisions “sharply limit liability of companies and their management for certain ‘forward-looking

statements,’ . . . when such statements are accompanied by appropriate cautionary language.”

Wesson, 669 F.3d at 71 n.3 (citing 15 U.S.C. § 78u-5). Forward-looking statements include

statements “of the plans and objectives of management for future operations, including plans or

objectives relating to the products or services of the issuer.” Meyer v. Biopure Corp., 221 F. Supp.

2d 195, 203 (D. Mass. 2022) (quoting 15 U.S.C. § 78u–5(i)(1)(B)). “[T]o be meaningful,

cautionary statements must be ‘substantive and tailored to the specific future projections, estimates



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or opinions . . . which plaintiffs challenge.’” Isham, 665 F. Supp. 2d at 39 (quoting In re Smith &

Wesson Holding Corp. Sec. Litig., 604 F. Supp. 2d 332, 340 (D. Mass. 2009)). Further, “if a

forward-looking statement is accompanied by meaningful cautionary language the defendant’s

state of mind is wholly irrelevant.” Leavitt, 451 F. Supp. 3d at 186 (citing In re Stone & Webster,

Inc., Sec. Litig., 414 F.3d 187, 212 (1st Cir. 2005)).

       Here, Defendants’ alleged statements discussing the timeline of program studies, the

timeline for NDA submission, the contents of its CMC package and the approval prospects for its

NDAs are forward-looking. Leavitt, 451 F. Supp. 3d at 186 (referring to challenged statements,

“which discussed potential FDA approval,” as “typical forward-looking statements” because they

“anticipated a hoped-for future event, FDA approval” and, therefore, “fit squarely within the

PSLRA’s safe harbor”); In re Sanofi Sec. Litig., 87 F. Supp. 3d 510, 535 (S.D.N.Y. 2015) (noting

that statements about FDA approval “are classically forward-looking—they address what

defendants expected to occur in the future”), aff’d sub nom. Tongue v. Sanofi, 816 F.3d 199 (2d

Cir. 2016). Moreover, these statements were accompanied by meaningful cautionary language.

Aldeyra warned of the exact risks that came to pass, cautioning that the FDA “may disagree with

our interpretation of or the sufficiency of the data from our clinical trials” or require “additional

studies, including clinical trials.” See, e.g., D. 32-10 at 8; D. 32-12 at 5. Harrington, 2017 WL

1946305, at *9 (concluding that “statements identify[ing] specific risk factors including . . . the

possibility of the FDA not approving the drug . . . [are] precisely what the law requires”).

       Relying on the First Circuit’s decision in Carbonite, Plaintiffs argue that the Company’s

cautionary statements do not provide PSLRA safe harbor protection because they were not

forward-looking and instead “were couched in the ‘present tense to describe [Defendants’] beliefs

about the then-existing status’ of the submission of the NDAs, the contents of the NDAs and



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commercialization of the drugs.” D. 33 at 26 (alteration in original) (emphasis omitted) (citing

Carbonite, 22 F.4th at 8). But the safe harbor defines “statement[s] of the plans and objectives of

management for future operations” as “forward-looking.” 15 U.S.C. § 78u-5(i)(1)(B). It does not

require that these statements are made in the future tense. Id. Moreover, Carbonite dealt with a

present tense statement used to describe the then-existing status of a product the company had

already put out into the market, not a future event.20 Carbonite, 22 F.4th at 8.

       Plaintiffs also argue that Aldeyra’s risk factors were themselves misleading because they

“were couched as hypothetical when Defendants knew such risks were substantially likely to

materialize, or had already materialized,” because “Aldeyra had deviated from applicable FDA

Guidance.” D. 33 at 26 n.11. But a risk disclosure cannot be misleading merely because it fails

to specify the probability of a risk. See Hill, 638 F.3d at 60 (noting “where the level of risk is

unknown and the existence of a risk is disclosed, we shall hesitate to conclude that disclosure is

misleading merely because it did not state that the risk was ‘serious’”).

       Here, Defendants disclosed to investors the risks known at the time of the relevant SEC

filings, press releases and analyst conference calls. Plaintiffs have not alleged sufficient facts to

allege that a more precise degree of risk was or should have been known. Cf. id. Accordingly,

Defendants’ forward-looking statements, accompanied by meaningful cautionary language, fall

within the PSLRA’s safe harbor.

       For all these reasons, the amended complaint also fails to allege an actionable misstatement

or omission.



       20
           Brumbaugh v. Wave Sys. Corp., 416 F. Supp. 2d 239, 251–52 (D. Mass. 2006), cited by
Plaintiffs, is also inapposite. There, the cautionary language provided by the defendant related
only tangentially to the subject matter of the allegedly misleading press release. The Court,
therefore, found that the cautionary language failed to warn against the implication in the
underlying press release with sufficient clarity to suggest caution. Id.
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       B.      Plaintiffs’ Claims Under Regulation S-K Fail

       The Supreme Court’s decision in Macquarie Infrastructure Corp. v. Mobal Partners, L.P.,

requires dismissal of Plaintiffs’ claims under Items 303 and 105 of Regulation S-K. Macquarie

Infrastructure Corp. v. Mobal Partners, L.P., 601 U.S. 257, 263 (2024) (holding “Rule 10b–5(b)

does not proscribe pure omissions” and instead requires only “disclosure of information necessary

to ensure that statements already made are clear and complete”).21

       C.      Loss Causation

       Even if Plaintiffs had sufficiently alleged scienter or materially false and misleading

statements, their claims still fail in the absence of loss causation. The PSLRA provides that “the

plaintiff shall have the burden of proving that the act or omission of the defendant . . . caused the

loss for which the plaintiff seeks to recover damages.” 15 U.S.C. § 78u–4(b)(4). Plaintiffs may

establish loss causation by showing that a corrective disclosure was “a ‘substantial’ cause of their

losses.” See Mass. Ret. Sys. v. CVS Caremark Corp., 716 F.3d 229, 239 (1st Cir. 2013) (quoting

FindWhat Inv. Grp. v. FindWhat.com, 658 F.3d 1282, 1309 (11th Cir. 2011)). A “corrective

disclosure” occurs when a company “release[s] . . . information that reveals to the market the

pertinent truth that was previously concealed or obscured by the company’s fraud.” Id. at 237

(quoting FindWhat Inv. Grp., 658 F.3d at 1312); see Coyne v. Metabolix, Inc., 943 F. Supp. 2d

259, 273 (D. Mass. 2013) (explaining that “the announcement must connect the current, present,

negative information to the earlier false or misleading statement” (emphasis omitted)).

       Plaintiffs cannot show loss causation because they have not alleged any corrective

disclosure. According to the amended complaint, Aldeyra’s stock price fell after it disclosed (1)



       21
           Plaintiffs allege Aldeyra’s risk disclosures are actionable under Macquarie because they
contain half-truths (not pure omissions), D. 33 at 26 n.11, but as we have already concluded,
Plaintiffs have not adequately plead a false or misleading statement.
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that the Phase 3 TRANQUILITY-1 Trial did not meet its primary endpoint, (2) negative feedback

from the FDA concerning the reproxalap NDA and (3) its receipt of a CRL for ADX-2191.

D. 27 ¶¶ 20–21, 23–26, 304–05.        Plaintiffs have not adequately alleged that Defendants

“reveal[ed] to the market [a] pertinent truth that was previously concealed or obscured by the

company’s fraud.” Mass. Ret. Sys, 716 F.3d at 237; see In re Wayfair, Inc. Sec. Litig., 471 F.

Supp. 3d 332, 350 (D. Mass. 2020) (concluding that a press release “was not a ‘corrective

disclosure’ because [p]laintiffs have not adequately pleaded scienter, so there is no adequate

allegation that the defendants ‘concealed’ or ‘obscured’ any information from the public”). The

Company’s announcements did not correct some untruth about its NDA submissions, but rather

updated investors on new developments.

       Plaintiffs assert they have also established loss causation “by alleging that the subject of

the fraudulent statement or omission was the cause of the actual loss suffered [or] that [the]

defendants’ misstatements and omissions concealed the price-volatility risk . . . that materialized

and played some part in diminishing the market value of the security.” D. 33 at 35 (alteration in

original) (quoting In re Evergreen Ultra Short Opportunities Fund Sec. Litig., 705 F. Supp. 2d 86,

95 (D. Mass. 2010)). But Plaintiffs’ theory cannot support loss causation because the risk that

materialized here — the FDA’s non-approval of the NDAs — was the risk that was disclosed.

Pizzuto v. Homology Medicines, Inc., No. 23-cv-10858-AK, 2024 WL 1436025, at *19 (D. Mass.

Mar. 31, 2024) (no loss causation where “[d]efendants did not conceal the risk . . . but disclosed

that risk several times throughout the Class Period”) (internal citation omitted).

VI.    Section 20(a) Claim (Count II)

       Plaintiffs claim that Brady, Reed and Greenberg are liable under Section 20(a) of the

Exchange Act based upon their positions of control and authority within the Company.



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D. 27 ¶¶ 332–35. Section 20(a) imposes joint and several liability on “[e]very person who, directly

or indirectly, controls any person liable” for a securities fraud violation. 15 U.S.C. § 78t(a). Thus,

to state a claim under Section 20(a), Plaintiffs must allege a primary violation of the Exchange

Act. ACA Fin., 512 F.3d at 67 (stating that “[t]he plain terms of [S]ection 20(a) indicate that it

only creates liability derivative of an underlying securities violation”). Because Plaintiffs fail to

plead a primary securities law violation, Plaintiffs’ claim under Section 20(a) against Brady, Reed

and Greenberg also fails.

VII.   Leave to Amend

       A party may amend a complaint with the court’s leave, which the court “should freely give”

when “justice so requires.” Fed. R. Civ. P. Rule 15(a)(2). Leave to amend may be “denied for

several reasons, including undue delay, bad faith, dilatory motive of the requesting party, repeated

failure to cure deficiencies, and futility of amendment.”        Hagerty ex rel. United States v.

Cyberonics, Inc., 844 F.3d 26, 34 (1st Cir. 2016) (internal quotation marks and citation omitted).

       Here, Plaintiffs do not formally request leave to amend the amended complaint. Instead,

they request at the end of their opposition that if the Court determines the amended complaint fails

to adequately state a claim for relief, they should be granted leave to further amend the complaint.

D. 33 at 36. Other courts in similar circumstances have refused such “informal request[s].” See,

e.g., Biogen, 193 F. Supp. 3d at 55 (denying “plaintiffs’ informal request for leave to amend” in a

securities fraud class action where, instead of “formally request[ing] leave to amend the amended

complaint,” plaintiffs requested same “on the final page of their thirty-page opposition to

defendants’ motion to dismiss”); ACA Fin., 512 F.3d at 57 (rejecting plaintiffs’ argument that

district court erred in denying leave to amend because they “took no action to add new allegations”

in response to defendants’ motion to dismiss “even though they knew what they would add if they



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amended,” and noting that allowing such a practice would “lead to delays, inefficiencies, and

wasted work”).

       Nor do Plaintiffs suggest “that new information has been discovered such that amendment

would not be futile.” See Sousa v. Sonus Networks, Inc., 261 F. Supp. 3d 112, 121 (D. Mass.

2017). Notwithstanding the “liberal” standard for adjudicating motions to amend, ACA Fin., 512

F.3d at 56, the Court DENIES leave to amend for the aforementioned reasons.

VIII. Conclusion

       For the foregoing reasons, Defendants’ motion to dismiss, D. 30, is ALLOWED.

       So Ordered.


                                                         /s Denise J. Casper
                                                         United States District Judge




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